       Case 1:08-cr-00442-ELH            Document 212      Filed 05/31/13      Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                         *
                                                 *
                                                 *
           v.                                    *           Criminal No. JFM-08-0442
                                                 *           Civil No. – JFM-13-437
AARON TYLER SOMERVILLE                           *
                                              ******

                                         MEMORANDUM


       Aaron Tyler Somerville has filed this motion under 28 U.S.C. §2255. The issues raised

by the motion have been fully briefed. The motion will be denied.

       The reasons for the denial may be briefly stated.

       1. Somerville first argues that his counsel was ineffective because counsel did not

notice that Count One of the indictment (to which Somerville pled guilty) was duplicitous

because it charged a conspiracy to distribute two different kinds of drugs; powder cocaine and

cocaine base. The law of the Fourt Circuit is clear, however, that because conspiracy is the

offense charged, the object of the conspiracy may be to distribute more than one type of drug.

See, e.g., United States v. Marshall, 332 F.3d 254, 262 (4th Cir. 2003). See also Braverman v.

United States, 317 U.S. 49, 54 (1942).

       2. Somerville’s second contention is that his counsel was ineffective because he

coerced Somerville into entering the guilty plea. The record belies that contention. In a plea

colloquy Somerville stated (under the penalties of perjury) that he understood the provisions of

the plea agreement (that the court reviewed with him in detail). He also acknowledged that he

had signed the plea letter, affirming that he was entering the plea voluntarily. As stated by the

Supreme Court in Blackledge v. Allison, 431 U.S. 63, 74 (1977), these “[s]olemn declarations in

                                                 1
       Case 1:08-cr-00442-ELH          Document 212        Filed 05/31/13     Page 2 of 2



open court carry a strong presumption of verity.” See also United States v. Lemaster, 403 F.3d

216, 223 (4th Cir. 2005), (defendant’s sworn statements during his plea colloquy and sentencing

conclusively establish that plea agreement and waiver were knowing and voluntary).

       3. Somerville claims that his sentence should be reduced because of changes in the

Sentencing Guidelines pertaining to crack cocaine. The record establishes, however, that

Somerville received precisely the sentence for which he bargained in light of the fact that he

entered into a “C” plea.




Date: May 31, 2013                                   ___/s/_______________________
                                                     J. Frederick Motz
                                                     United States District Judge




                                                 2
